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             IN THE UNITED STATES DISTRICT COURT FOR THE
                      NORTHERN DISTRICT OF TEXAS
                          FORT WORTH DIVISION

UNITED STATES OF AMERICA                §
                                        §
vs.                                     §       CRIMINAL NO. 4:06-CR-088-Y
                                        §
KELVIN SPENCER             (2)          §

                                ORDER ACCEPTING
                       REPORT AND RECOMMENDATION OF THE
                        UNITED STATES MAGISTRATE JUDGE
                        AND ADJUDGING DEFENDANT GUILTY

      After reviewing all relevant matters of record, including the

Consent to Administration of Guilty Plea and Federal Rule of

Criminal Procedure 11 Allocution by United States Magistrate Judge

and the Report and Recommendation on Plea Before the United States

Magistrate Judge, and no objections thereto having been filed

within ten (10) days of service in accordance with 28 U.S.C. §

636(b)(1), the undersigned district judge concludes that the report

and recommendation of the magistrate judge on the plea of guilty is

correct, and it is hereby accepted by the Court.                 Accordingly, the

Court accepts the plea of guilty, and defendant is hereby adjudged

guilty.    Sentence will be imposed in accordance with the Court’s

sentencing scheduling order.

      SO ORDERED.

      SIGNED March 15, 2007.
